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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
vs.                                            ) Case No.: 4:16-cr-258 HEA
                                               )
ALDEN DICKERMAN,                               )
                                               )
       Defendant.                              )


                                     NOTICE OF APPEAL

       Notice is hereby given that Alden Dickerman, defendant in the above named case, hereby

appeals to the United States Court of Appeals for the Eighth Circuit from the judgment and

sentence entered in this action on the 20th day of September, 2018.



                                             Respectfully submitted,

                                             ROSENBLUM, SCHWARTZ, & FRY, P.C.,

                                      By:    /S/ Adam D. Fein________________
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                                             (314) 862-4332/Facsimile 862-8050




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 3, 2018, the foregoing was electronically filed with the
Clerk of the Court to be served by operation of the Court=s electronic filing system upon Ms.
Coleen C. Lang, Assistant United States Attorney.
